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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                MIDLAND DIVISION

JOSE SANCHEZ,                                §
                                             §
        Plaintiff,                           §
                                             §
vs.                                          §       CIVIL ACTION NO. 7:15-CV-162-HLH
                                             §
APPLIED CONSULTANTS, INC.,                   §
                                             §
        Defendant.                           §

      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                      PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Jose

Sanchez hereby gives notice that the above-captioned action is voluntarily dismissed, without

prejudice.


                                             Respectfully submitted,

                                             By: /s/ Josh Borsellino
                                             Josh Borsellino
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